                      Case 19-17620-RAM           Doc 17      Filed 07/09/19    Page 1 of 1
Form CGFCRD3 (4/4/2019)

                               United States Bankruptcy Court
                                         Southern District of Florida
                                           www.flsb.uscourts.gov
                                                                                     Case Number: 19−17620−RAM
                                                                                     Chapter: 13

In re:
Mario L Sorroche Moreno
aka Mario L Sorroche, aka Mario Lazaro Sorroche Moreno, aka Mario
Sorroche Moreno, aka Mario Lazaro Sorroche−Moreno, aka Mario L
Sorroche−Moreno, ...
3740 E 8th Court
Hialeah, FL 33013−2802

SSN: xxx−xx−1102




                                           NOTICE OF HEARING


NOTICE IS HEREBY GIVEN that a hearing will be held on July 12, 2019 at 10:00 AM, at the following
location:

C. Clyde Atkins U.S. Courthouse, 301 North Miami Avenue, Courtroom 4, Miami, FL 33128

to consider the following:

[16] Debtor's Emergency Motion to Compel Turnover, Motion For Contempt, Motion For Sanctions
Pursuant Section 105(A) and 11 USC 362k Automatic Stay Violation Against Senna Lenders Corp
Filed by Debtor Mario L Sorroche Moreno


THIS MATTER HAS BEEN SET ON THE COURT'S MOTION CALENDAR FOR A NON−EVIDENTIARY
HEARING. THE ALLOTTED TIME FOR THIS MATTER IS TEN MINUTES.

THE MOVANT (OR MOVANT'S COUNSEL if represented by an attorney) SHALL SERVE A COPY OF
THIS NOTICE OF HEARING and, unless previously served, the above−described pleading on all required
parties within the time frames required by the Bankruptcy Rules, Local Rules, or orders of the Court, and
shall file a certificate of service as required under Local Rules 2002−1(F) and 9073−1(B). Any party
who fails to properly serve any pleadings or other paper may be denied the opportunity to be heard
thereon.

PLEASE NOTE: Photo identification is required to gain entrance to all federal courthouse facilities.
Electronic devices, including but not limited to cameras, cellular phones (including those with cameras),
iPads, tablets, pagers, personal data assistants (PDA), laptop computers, radios, tape−recorders, etc., are
not permitted in the courtroom, chambers or other environs of this court. These restrictions (except for
cameras not integrated into a cell phone device) do not apply to attorneys with a valid Florida Bar
identification card, attorneys who have been authorized to appear by pro hac vice order and witnesses
subpoenaed to appear in a specific case. No one is permitted to bring a camera or other prohibited
electronic device into a federal courthouse facility except with a written order signed by a judge
and verified by the United States Marshal's Service. See Local Rule 5072−2.

Dated: 7/9/19                                              CLERK OF COURT
                                                           By: Jacqueline Antillon
                                                           Courtroom Deputy
